
Quillian, Judge.
The Supreme Court on certiorari (J. W. A. v. State of Ga., 233 Ga. 683) has reversed the judgment of this court in J. W. A. v. State of Ga., 133 Ga. App. 102 (210 SE2d 24). In conformity with the mandate of that decision the case is reversed and remanded to the "Juvenile Court of White County for disposition in that court or for de novo transfer hearing to the superior court in accordance with the Juvenile Code.”

Judgment reversed with direction.


Bell, C. J., Pannell, P. J., Deen, P. J., Evans, Stolz, Webb and Marshall, JJ., concur. Clark, J., concurs specially.

Jeff C. Wayne, District Attorney, Kenneth R. Keene, for appellee.
Barry B. McGough, John L. Cromartie, amicus curiae.
